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                               UNITED STATES DISTRICT COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
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12    BEYOND BLOND PRODUCTIONS, LLC, CASE NO.: 2:20-cv-05581 DSF (GJSx)
13    a California limited liability company;
14                                                 Honorable Dale S. Fischer
                 Plaintiff,
15
16               vs.                               ORDER GRANTING STIPULATED
                                                   PRETRIAL AND TRIAL DATES [DKT.
17    EDWARD HELDMAN III, an individual;           389]
18    COMEDYMX, INC., a Nevada corporation;
      COMEDYMX, LLC, a Delaware limited
19
      liability company; and DOES 1-10;
20
21               Defendants.
      ___________________________________
22    And Related Counterclaims and Third-Party
23    Claims
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     Case 2:20-cv-05581-DSF-GJS           Document 390       Filed 10/22/24    Page 2 of 2 Page ID
                                                #:6994



 1            Having considered Plaintiff Beyond Blond Productions, LLC, and Defendant
 2    Edward Heldman III’s (“Heldman”) jointly-stipulated proposed amended Scheduling
 3    Order, IT IS HEREBY ORDERED that pretrial and trial dates are modified as follows:
 4
 5    Matter                                    Time   Weeks       Court Order
                                                       Before
 6                                                     Trial
      Trial                                     8:30               July 29, 2025
 7                                              am
      Pretrial Conference, LR 16; Hearing on    3:00   4           June 30, 2025
 8    Motions in Limine (Monday)                pm
 9    Trial Documents (Set Two)                        6           June 17, 2025
      Trial Documents (Set One)                        7           June 10, 2025
10    Last day to conduct ADR Proceeding,              12          May 6, 2025
      LR 16-15
11    Last day to hear motions (except motion          14          April 21, 2025
      to amend pleadings or add parties and
12    motions in limine), LR 7 (Monday)
13    Non-expert Discovery Cut-off                     21+         March 4, 2025
      Expert Disclosure (initial)                                  January 7, 2025
14    Expert Disclosure (rebuttal)                                 February 4, 2025
      Expert Discovery Cut-off                         21+         March 4, 2025
15    Last day to hear motion to amend                 32+         December 16, 2024
      pleadings or add parties (Monday)
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17
18    Dated: October 22, 2024                                   _______________________
                                                                Honorable Dale S. Fischer
19                                                              United States District Judge
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